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           EXHIBIT 1
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                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                       EASTERN DIVISION

  CONSOLIDATED INDUSTRIES, LLC     )
  d/b/a WEATHER KING PORTABLE      )
  BUILDINGS,                       )
                                   )
        Plaintiff,                 )
                                   )                     Civil Action No. l:22-cv-01230
  V-                               )
                                   )
  JESSE A. MAUPIN, BARRY D.        )
  HARRELL, ADRIAN S. HARROD,       )
  LOGAN C. FEAGIN, STEPHANIE L.    )
  GILLESPIE, RYAN E. BROWN, DANIEL )
  J. HERSHBERGER, BRIAN L. LASSEN, )
  ALEYNA LASSEN, and AMERICAN      )
  BARN CO., LLC,                   )
                                   )
        Defendants.                )


                ADRIAN S. HARROD'S RESPONSES TO PLAINTIFF’S
        FIRST SET OF INTERROGATORIES, REQUESTS FOR PRODUCTION OF
                  DOCUMENTS, AND REQUESTS FOR ADMISSION

          Pursuant to Fed. R. Civ. P. 26, 33, 34, and 36, Adrian S. Harrod by and through his

 attorneys, states the following responses.

                                       INTERROGATORIES

          1.      Identify each business enterprise that has been engaged in the Portable Buildings

  Industry with which you played any role in planning its creation or formation and, with respect to

  each such enterprise, identify: (a) your specific role(s) relating to the creation/formation; (b) the

  dates in which you were involved in the planning; and (c) all other individuals and entities who

  were involved in planning the creation/formation.

          RESPONSE:

          None.


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          2.     Other than Weather King, identify each business enterprise in the Portable

 Buildings Industry in which you have held an ownership interest and/or performed services

 (whether as an employee, an independent contractor, or in any other capacity) since January 1,

 2021, and, with respect to each such enterprise, identify: (a) your specific relationship with the

 entity, including but not limited to all titles and positions you have held; (b) the nature and extent

 of any ownership interest in the enterprise; (c) the dates of your relationship; and (d) your role and

 duties for the entity.

          RESPONSE:

          Harrod objects to this request as being overly broad and unduly burdensome and not

 proportional to the needs of the case. The information requested is not relevant to any issue in the

 case and to collect imposes an unnecessary burden on Harrod. Subject to and without waiving

 those objections, Harrod states as follows. I am a salesman for American Barn and have been one

 since its inception. I have no ownership interest.

          3.     Identify each communication you have had with any person or entity (other than

 confidential communications solely with your legal counsel, your spouse, or your accountant)

 between January 1,2021, and through the day of the termination of your employment with Weather

 King (including but not limited to communications with lenders or potential lenders, investors or

  potential investors, business partners or potential business partners, Weather King employees,

  Weather King contractors, Weather King dealers, Weather King builders, Weather King drivers,

  other Weather King business partners, rental companies, and Weather King customers) relating to

  the creation/formation or potential creation/formation of, funding or potential funding of, and/or

  operation or potential operation of any business enterprise in the Portable Buildings Industry (other

  than Weather King) and, with respect to each such communication, identify: (a) the substance of

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 the communication; (b) all parties to the communication; (c) the date of the communication;

 (d) the mode of the communication (z'.e., telephonic conversation, email, text message, etc.).

         RESPONSE:

          Harrod objects to this request as being overly broad and unduly burdensome and

 proportional to the needs of the case nor relevant to any issue in the case, and to collect it imposes

 an unnecessary burden on Harrod. Subject to and without waiving those objections, Harrod

 as follows.   I had verbal communications with Weather King dealers and employees about

 plans to leave. I do not recall the dates or names of the dealers and employees.

          4.     Identify each communication you had between January 1, 2021, and through

 day of the termination of your employment with Weather King with any person then-employed by

  Weather King relating to that person’s potential departure from Weather King and/or

 potential departure from Weather King and, with respect to each such communication: (a) describe

  in detail the substance of the communication; (b) identify all parties to the communication;

  identify the date of the communication; and (d) identify the mode of the communication (z'.e.

  telephonic conversation, email, text message, etc.).

          RESPONSE:

          Harrod objects to this request as being overly broad and unduly burdensome and

  proportional to the needs of the case, nor relevant to any issue in the case, and to collect it imposes

  an unnecessary burden on Harrod. Subject to and without waiving those objections, Harrod

  as follows. I had verbal communications on this issue with Logan Feagin and Jesse Maupin

  do not recall the dates.

          5.      Identify each communication you had between January 1, 2021, and the day of the

  termination of your employment from Weather King with any person or entity who, at the time of

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 the communication, was a Weather King dealer, driver, customer, lender, landlord, rental

 company, or other business partner relating to your potential departure from Weather King and,

 with respect to each such communication: (a) describe in detail the substance of the

 communication; (b) identify all parties to the communication; (c) identify the date of the

 communication; and (d) identify the mode of the communication (z.e., telephonic conversation,

 email, text message, etc.).

          RESPONSE:

          Harrod objects to this request as being overly broad and unduly burdensome and not

 proportional to the needs of the case, nor relevant to any issue in the case, and to collect it imposes

 an unnecessary burden on Harrod. Subject to and without waiving those objections, Harrod states

 as follows.   I had verbal communications with Weather King dealers but do not recall the exact

 dates or parties.

          6.      Identify each person and/or entity with whom you have discussed funding, potential

 funding, or providing other financial support to or for any business enterprise in the Portable

 Business Industry since January 1,2021, whether as an investor, a lender, or in any other capacity.

          RESPONSE:

          None.

          7.      Identify all property of Weather King (including but not limited to electronically

  stored information) that has been in your possession at any time after the date of the termination

  of your employment with Weather King and, with respect to the property, (a) identify where or

  how it has been stored; and (b) set forth in detail the circumstances in which you have made use

  of, copied, or shared the property with anyone else (including but not limited to the identity of the

  person or entity and the date(s) in which the property was shared).

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          10.      Identify all email accounts, cell phone numbers (and providers), messaging

 services, Google drive accounts, Dropbox accounts, and any other cloud-based account that you

 have used at any time since January 1, 2022, through the present.

         RESPONSE:

                Harrod objects to this interrogatory as not being proportional to the needs of the case.

          11.      Identify all person who were recipients of the text message communications

 reflected in Exhibit 1 to the original Complaint.

          RESPONSE:

          I do not recall.

          12.       Identify each device in your possession, custody, or control, including but not

  limited to laptop computers, desktop computers, cell phones (including number and provider),

 tablets, or other portable electronic or storage devices, that contains or contained any information

  that refers to, relates to, or was created by Weather King.

          RESPONSE:

          Harrod objects to this interrogatory as not being proportional to the needs of the case.

          13.       For each lawsuit, bankruptcy proceeding, criminal proceeding, or administrative

  proceeding, including divorce proceedings, to which you have been a party, state: (a) the court or

  agency in which said proceeding was instituted, the names of the parties to the proceeding, the

  docket number of said proceeding, the date the proceeding was filed and the date the proceeding

  was finally terminated; (b) the nature of the proceeding, including a description of the claims and

  defenses, if applicable, and (c) the manner in which the proceeding was resolved (for example, by

  settlement, by court order).



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           RESPONSE:

          None.




                                            VERIFICATION

           I, Adrian S. Harrod, declare under penalty of perjury that the foregoing responses to

   Plaintiff’s First Set of Interrogatories are true and correct to the best of my knowledge, information,

   and belief.                                                                                    <




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          RESPONSE:

          None.

          6.      All correspondence and other documents exchanged with any former Weather King

 employees between January 1, 2022, and July 1, 2022.

          RESPONSE:

          None.

          7.      All correspondence and other documents exchanged with any then-current Weather

 King employees after January 1,2022.

          RESPONSE:

          None.

          8.      All correspondence and other documents exchanged with any then-current Weather

 King dealers (including but not limited to employees and agents of those dealers) between January

  1,2022, and July 1,2022.

          RESPONSE:

          None.

          9.      All correspondence and other documents exchanged with any then-current Weather

  King builders (including but not limited to employees and agents of those builders) between

  January 1,2022, and July 1, 2022.

          RESPONSE:

          None

          10.     All correspondence and other documents exchanged with any then-current Weather

  King customers (including but not limited to employees and agents of those customers) between

  January 1,2022, and July 1,2022.

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          RESPONSE:

          None.

          11.     All correspondence and other documents exchanged with any then-current Weather

 King drivers (including but not limited to employees and agents of those drivers) between January

  1, 2022, and July 1,2022.

          RESPONSE:

          None.

          12.     All correspondence and other documents exchanged with any Portable Buildings

 Industry rental companies and/or rental companies being formed (including but not limited

 employees and agents of those entities) between January 1,2022, and July 1, 2022.

          RESPONSE:

          None.

          13.     All correspondence and other documents exchanged with BPS, LLC, BPS Rentals

 LLC, Keith Priestley, Jerry Sawyer or Troy Buttrey between July 1,2021, and July 1, 2022.

          RESPONSE:

          None.

          14.     All non-privileged correspondence and other documents related to:

          (a) any of the Defendants’ departure from Weather King;

          (b) any of the Defendants’ communications with any Weather King employees about

          possibility of leaving Weather King or joining ABCO;

          (c) any of the Defendants’ communications with any Weather King builders, dealers

          drivers, rental companies, or contractors, about the possibility of doing business wi

          ABCO or ceasing doing business with Weather King;

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         (d) any claims or potential claims made by Weather King against any of the Defendants;

         (e) any of the Defendants’ possession of or use of any Weather King property; or

         (f) derogatory remarks made by any of the Defendants relating to Weather King;

         RESPONSE:

         None.

          15.     All correspondence and other documents exchanged with any person or entity

  related to the leasing or potential leasing of any property located in Arizona or New Mexico.

         RESPONSE:

         None.

          16.     All emails and attachments sent from your Weather King company email address

  to any personal email address since January 1, 2021.

          RESPONSE:

          None.

          17.     All correspondence and other documents referencing or relating to any Weather

  King drawings, blueprints, or other engineering plans, including but not limited to plans prepared

  by Kevin Nolan, P.E.

          RESPONSE:

          None.

          18.     All documents relating to any sales of units using any Weather King drawings,

  blueprints, or other plans, including but not limited to plans prepared by Kevin Nolan, P.E.

          RESPONSE:

          None.



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